Case 20-10846 Doc 203-13 Filed 07/03/20 Entered 07/03/20 17:30:39 Exhibit 13 Page 1 of 5

      Case 2:20-cv-01320-SM-JVM Document 1-18 Filed 05/01/20 Page 11 of 50
                                      Filed by:   -----717"J:A.J
                                    Legal Wings



                           CIVIL DISTRICT COURT FOR THE PARISH 0;•ORL' '' ' EANS
                                               STATE OF. LOUISIANA

           DOCKET NO. 2018-10864                                                          DIVISION "A-16"
                                                      JOHN DOE
                                                        VERSUS
                                   THE ROMAN CATHOLIC CHURCH OF THE                                   d 2128'
                                   ARCHDIOCESE OF NEW ORLEANS, ET AL.
                                                                                                          OFFICE
                                                                                              CIVIL DISTRICT
           FILED:                                                                                            COURT
                                                                                           DEPUTY CLERK
                  THE ROMAN CATHOLIC CHURCH OF THE ARCHDIOCESE OF
             NEW ORLEANS' MOTION TO MAINTAIN CONFIDENTIALITY DESIGNATIONS
                   The Roman Catholic Church of the Archdiocese of New Orleans (the "Archdiocese"),

           through undersigned counsel, pursuant to this Court's October 28, .2019 Protective. Order, moves

           for an Order maintaining the designations of certain documents produced by the New Orleans

           Louisiana Saints, LLC (the "Saints") as "confidential," representing as follows:

                                                            1.

                   On June 20, 2018, the Archdiocese filed a Motion for Protective Order pursuant to La.

           C.C.P. art. 1426 for purposes of protecting private or confidential information of the parties and

           others that would be produced in discovery.

                                                            2.

                   On August 6, 2019, the Saints were served with a subpoena duces tecum (the

           "Subpoena") by Plaintiff in connection with the captioned action.

                                                            3.

                   The Saints timely served written objections (the "Objections") in accordance with

           Louisiana Code of Civil Procedure article 1354(B) on Plaintiffs counsel.

                                                            4.

                    In the Objections, the Saints objected to, among other things, "producing documents ...

           unless it is done subject to a Protective Order, in a form that is agreeable to the Saints, governing

           the confidentiality and use of any documents that may be produced."


                                                                                                     IFJED
           {N3947341.1}                                     1
                                                                                           v/                        EXHIBIT 13
                                                                                                /0fid
Case 20-10846 Doc 203-13 Filed 07/03/20 Entered 07/03/20 17:30:39 Exhibit 13 Page 2 of 5

      Case 2:20-cv-01320-SM-JVM Document 1-18 Filed 05/01/20 Page 12 of 50




                                                              5.

                    On September 25, 2019, the Special Master issued a report and recommendation on the

           Archdiocese's motion for protective order, in which she recommended to the District Court entry

           of a Protective Order to protect confidential information.

                                                              6.

                    On October 28, 2019, pursuant to the Special Master's report, this Court entered a

           Protective Order (the "October 28 Protective Order") whereby parties and non-parties responding

           to discovery were permitted to designate documents as "confidential," which designation would,

           among other things, limit the dissemination and use of such documents for purposes related to

           the instant lawsuit.

                                                              7.

                    Under the October 28 Protective Order, the party receiving documents produced in

           discovery which were designated "confidential" may advise the designating party in writing that

           he disputes the "confidential" designation as to certain documents.

                                                           8.

                    On September 24, 2019, Plaintiff filed a Motion to Compel with respect to his Subpoena

           to the Saints.

                                                           9.

                    On October 9, 2019, the Saints filed the Memorandum in Opposition to Plaintiffs Motion

           to Compel and also filed a Motion for Protective Order seeking to protect confidential

           information in the Saints' documents. The same day, the Archdiocese filed motions to intervene,

           to quash, and for a protective order to protect confidential information in the Saints' documents,

           all with respect to Plaintiffs Motion to Compel.

                                                           10.

                    On November 9, 2019, the Special Master issued a report and recommendation dated

           November 7, 2019 (the "November 7 Report") regarding Plaintiffs Motion to Compel, the

           Saints' Motion for Protective Order, and the Archdiocese's Motion to Intervene and for

           Protective Order, concluding in pertinent part that a Protective Order issue to protect the




           {N3947341.1}                                       2
Case 20-10846 Doc 203-13 Filed 07/03/20 Entered 07/03/20 17:30:39 Exhibit 13 Page 3 of 5

      Case 2:20-cv-01320-SM-JVM Document 1-18 Filed 05/01/20 Page 13 of 50




           confidentiality of information contained in the Saints' documents in conformity with the Court's

           then existing October 28 Protective Order.

                                                          11.

                    Pursuant to the Order Appointing Special Master, if any party disagreed with the Special

           Master's November 7 Report, they were required to file written objections within 10 days after

           being served with the notice of the filing of the report. No objections were filed; however, as of

           this filing, the District Court has not entered an Order with respect to the Special Master's

           November 7 Report.

                                                          12.

                    The Saints produced documents to Plaintiff on December 3, 2019 and designated certain

           documents in their December 3 production as "confidential" in accordance with the District

           Court's October 28 Protective Order and the Special Master's November 7 Report.

                                                           13.

                    On December 12, 2019, Plaintiffs counsel advised undersigned counsel via email that

           Plaintiff disputes all of the "confidential" designations in the Saints' December 3 document

           production.

                                                           14.

                    Under the October 28 Protective Order, a party whose "confidential" designations are

           challenged may, within 20 days, move the Court to maintain the confidentiality designations.

                                                           15.

                    Plaintiffs counsel, Soren Gisleson, agreed to extend the time to file a motion by one

           week, through Thursday, January, 9, 2020.

                                                           16.

                    The confidential information at issue in the Saints' documents which has been designated

           as confidential by the Saints involves the Archdiocese and the Archdiocese also maintains that

           such information should be designated as "confidential" pursuant to the October 28 Protective

           Order.




           (N3947341.1)                                     3
CaseLi20-10846 Doc 203-13 Filed 07/03/20 Entered 07/03/20 17:30:39 Exhibit 13 Page 4 of 5

      Case 2:20-cv-01320-SM-JVM Document 1-18 Filed 05/01/20 Page 14 of 50




                                                           17.

                    In accordance with the October 28 Protective Order, on January 9, 2020, the Saints

           moved this Court to maintain the "confidential" designations in the Saints' December 3, 2019

           document production and filed a memorandum in support.

                                                           18.

                    Accordingly, the Archdiocese hereby joins with the Saints' Motion to Maintain

           Confidentiality Designation and hereby adopts and incorporates the Motion to Maintain

           Confidentiality Designations and Memorandum in Support herein.

                                                           19.

                    For the reasons stated in the Saints' Motion to Maintain Confidentiality Designations and

           Memorandum in Support, the Archdiocese maintains that the Saints' confidentiality designations,

           including, but not limited to, those documents which pertain to the Archdiocese, should be

           upheld under Louisiana law.

                                                           20.

                    WHEREFORE, the Archdiocese prays that the Court enter an Order maintaining the

           confidentiality designations of the Saints in their December 3, 2019 document production.

           Dated: January 9, 2020                         Respectfully submitted,




                                                          WAYNE G. ZERINGU             . (#18516)
                                                          JOSEPH J. LOWENT          , JR. (#08909)
                                                          JEFFERSON R. TILLERY (#17831)
                                                          EDWARD D. WEGMANN (#13315)
                                                          ALLISON B. KINGSMILL (#36532)
                                                          JONES WALKER, LLP
                                                          201 St. Charles Avenue, Floor 48
                                                          New Orleans, LA 70170
                                                          Telephone:     504-582-8682
                                                          Facsimile:     504-589-8682
                                                          wzeringue@joneswalker.com
                                                          jlowenthal@joneswalker.com
                                                          jtillery@joneswalker.com
                                                          dwegmann@joneswalker.com
                                                          akingsmill@joneswalker.com

                                                          Attorneys for Defendant, The Roman Catholic
                                                          Church of the Archdiocese ofNew Orleans




           {N3947341.1}                                     4
Case 20-10846 Doc 203-13 Filed 07/03/20 Entered 07/03/20 17:30:39 Exhibit 13 Page 5 of 5

      Case 2:20-cv-01320-SM-JVM Document 1-18 Filed 05/01/20 Page 15 of 50




                                           CERTIFICATE OF SERVICE

                   I hereby certify that copies of the above and preceding Motion to Maintain

           Confidentiality Designations have been served upon all known counsel of record by electronic

           mail or by U.S. Mail, postage prepaid and properly addressed, on this 9th day of January, 2020.

           A copy is also being provided to the Special Master on the same date       11.




           {N3947341.1}                                   5
